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                                Exhibit E
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                                   U NITED STATES DISTRICT COURT
                                   SOU THERN DISTRICT OF FLORIDA

                                     Case N o.1:11-cv-20427-W ILL1AM S


      D ISN EY EN TERPRISES,INC .,etal.,

                             Plaint.f#à,

               VS.

      H O TFILE CORP.,etaI.,

                             Defendants.


                                  DEC LAR ATIO N O F YANG BIN W AN G

               1,Yangbin W ang,declare as follow s:
       1.      M y nam e isYangbin W ang. 1am m ore than 18 years ofage and am qualified to m ake
               the statem entsbelow,which are based upon m y personalknow ledge.

               IreceivedmyBachelorofSciencedegreefrom ZhejiangUniversityinChina,andI
               received m y M SEE degreefrom the University ofFlorida,G ainesville. lalso com pleted
               the executive education progrnm atthe Stanford Graduate SchoolofBusiness.

               lam thefounderofVobile,lnc.($$Vobile'')and1havebeenservingasitsChiefExecutive
               Officersince itsform ation in 2005.
       4.      Vobile hasbeen inform ed thatthe Courthasrequested thatthe partiesto the above-
               referenced law suitidentify inform ation thathasbeen disclosed in thc case thatmust
               rem ain confidential. Vobile w asrequired to provide certain confidentialinform ation asa
               third party in thislaw suit. Iam subm itting thisdeclaration to requestthatthis
               inform ation rem ain contidential.
       5.      V obile isa com pany based in Santa Clara,California,thatprovidescontentidentification
               and m anagem entproductsand services forcontentow ners.


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      6.       During the course ofthe above-referenced lawsuit,m y deposition wastaken as a
               representative ofVobile on Decem ber22,2011. D uring the deposition, Iw asasked
               aboutthe m onthly am ountspaid to Vobile by m otion picture studio custom ers. As
               Vobile doesnotdisclose such inform ation,m y response to this question w asdesignated
               asdW ttorneys'EyesOnly,Highly Confidential''pursuanttotheprotectiveorderin this
               lawsuit. Based ontheunderstandingthatsuch information wouldremain confidential, 1
               responded to these questionsatpages 105,line22 through page 107, line 23 ofthe
               transcriptofm y deposition.
               V obile hasbeen inform ed thata portion ofthisconlidentialinformation w as disclosed on
               page 6 ofHottile'sM em orandum ofLaw in Opposition to PlaintiffsM otion for
               Summary Judgm entand thatthisinform ationwasdesignatedasconfidential. Vobile
              continues to regard infonnation concerning its salesand pricing to custom ersas
              contidential. V obile does notpublicly disclose such inform ation and takes reasonable
              m easuresto m aintain such inform ation ascontidential. Vobile isengaged in a highly
              com petitivebusinessand believesthatthe disclosure ofsuch inform ation would place it
              ata com petitive disadvantage and have an adverse effecton itsbusiness.
              V obile w asnota party to thislaw suitand provided inform ation as athird party in
              reliance on theassurance undertheprotectiveorderin thism atterthatVobile's
              confidentialinform ation w ould notbepublicly disclosed. Vobile respectfully requests
              thatthe inform ation referenced above be m aintained asconfidential,
              Ideclareunderpenaltyofperjurythattheforegoingistrueandcorrect.
              Executed this27th day ofJanuary,2014,atPalo A lto,California.



                                                          Yangbi      ang




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